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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     SOUTHERN DISTRICT OF GEORGIA                         -. -.
                            AUGUSTA DIVISION           US                   -'


 UNITED STATES OF AMERICA           *
                                                                         23 P 3; 3Lj
       v.                           *           CR 106-031           4            7
                                    *
 TIMOTHY L WORTHEN                  *




                                ORDER



       On December 8, 2006, Defendant Timothy L. Worthen was

 convicted by a jury for the offenses of conspiracy to possess

 with intent to distribute cocaine hydrochloride and possession

 with intent to distribute cocain hydrochloride. Defendant

 appealed his conviction and sentence through his attorney

 Joseph H. Huff.       On February 5, 2008, the Eleventh Circuit

 Court of Appeals affirmed his conviction.

       Presently, Defendant Worthen, proceeding pro se, has moved

 to obtain the transcript of his jury trial. The record shows

 that the jury trial was transcribed and made part of the record

 on appeal. Nevertheless, Defendant may not obtain a free

 transcript unless he shows that the transcript is necessary to

 decide an issue presented by suit or appeal.                28 U.S.C. §

 753(f); see also Walker v. United States, 424 F.2d 278, 278-79

  (5th Cir. 1970) (stating that "[a] federal prisoner is not

 entitled to obtain copies of court records at Government

 expense for the purpose of searching the record for possible

 error") -     Moreover, the Eleventh Circuit has explained:
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       We hold that a request by a prisoner for access to
       the court files of his underlying criminal
       conviction is premature prior to the filing of a
       collateral attack on that conviction; a prisoner is
       entitled to access to the court files only after he
       has made a showing that such files are necessary to
       the resolution of an issue or issues he has
       presented in a non-frivolous pending collateral
       proceeding.

 Hansen v. United States, 956 F.2d 245, 248 (11th Cir. 1992)

 (footnotes omitted)

       Here, Defendant does not have an appeal or post-conviction

 collateral attack pending. Further, he outlines no specific

 need for any of the materials he seeks, other than to prepare

 for his petition under 28 U.S.C. § 2255. Thus, his motion for

 the trial transcript is premature and must be DENIED.

       That being said, the Court notes that Defendant has

 requested a copy of the trial transcript from his counsel, Mr.

 Huff. If Mr. Huff is in possession of a transcript and wishes

 to let Defendant have access to it, Mr. Huff is hereby

 authorized to send the trial transcript to Defendant at the

 following address:

      Timothy L. Worthen
      # 12563-021 TJ.S.P.
      Post Office Box 1000
      Lewisburg, PA 17387-1000

      ORDER ENTERED at    Augusta, Georgia, this ___________ day of

 October 2008.




                                         UNITED STAZES DISTRICT JUDGE

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